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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                              )
ALEX LORA,                                    )
     Plaintiff                                )
v.                                            )       C.A. No. 13-40131-TSH
                                              )
PATRICK K. MORAN, Individually,               )
JON KACHADOORIAN, Individually,               )
and CITY OF WORCESTER,                        )
       Defendants                             )
                                              )

                  DEFENDANTS’ ASSENTED TO MOTION FOR LEAVE
                    TO DEPOSE A PERSON CONFINED IN PRISON

       Defendants, Patrick K. Moran, Jon Kachadoorian and City of Worcester (City), with the

assent of Plaintiff, respectfully move this Court, pursuant to Fed. R. Civ. P. 30(a)(2), for leave to

depose Jimmie Cotto, Jr., who has been identified in Plaintiff’s initial disclosures as a potential

witness present at the time of the incident alleged in Plaintiff’s First Amended Complaint, and

who is currently incarcerated at the Worcester County Jail and House of Correction, West

Boylston, MA.

                                                      PATRICK K. MORAN,
                                                      JON KACHADOORIAN &
                                                      CITY OF WORCESTER
                                                      By their attorneys,
                                                      David M. Moore
                                                      City Solicitor

                                                      /s/ Kevin M. Gould
                                                      Wendy L. Quinn (BBO #653954)
                                                      Kevin M. Gould (BBO #661545)
                                                      Assistant City Solicitors
                                                      City Hall, Room 301
                                                      455 Main Street
                                                      Worcester, MA 01608
                                                      (508) 799-1161
                                                      quinnwl@worcesterma.gov
                                                      gouldk@worcesterma.gov
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ASSENTED TO BY:

ALEX LORA
By his attorney

/s/ Jeffrey M. Sankey_______________
Jeffrey M. Sankey, BBO# 551062
Sankey Law Offices
25 Braintree Hill Park, Suite 200
Braintree, MA 02184
(781) 930-3127
jsankey@sankeylaw.com

                    CERTIFICATE OF LOCAL RULE 7.1 CONFERENCE

       I, the undersigned, hereby certify that I have communicated with Plaintiff’s counsel in a
good faith attempt to resolve or narrow the issues presented by this Motion, as a result, this
motion is filed with Plaintiff’s assent.


                                                   /s/ Kevin M. Gould
                                                   Kevin M. Gould
                                                   Assistant City Solicitor


                                CERTIFICATE OF SERVICE

       I, Kevin M. Gould, hereby certify that on this 1st day of October, 2014, the within
Defendants’ Assented to Motion for Leave to Depose a Person Confined in Prison was served
upon all counsel of record through this Court’s electronic filing system as identified on the
Notice of Electronic Filing.

                                                   /s/ Kevin M. Gould
                                                   Kevin M. Gould
                                                   Assistant City Solicitor




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